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                                                        DOCUMENT -
UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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KATHRYN TOWNSEND GRIFFIN, HELEN
MCDONALD, and THE ESTATE OF
                                                     ~========
                                                      :•-    · ==
                                                                ' ==:!!!{
CHERRIGALE TOWNSEND,
                 Plaintiffs,                        17 Civ. 5221 (LLS)
            - against -                              OPINION & ORDER

EDWARD CHRISTOPHER SHEERAN, p/k/a
ED SHEERAN, ATLANTIC RECORDING
CORPORATION, d/b/a ATLANTIC
RECORDS, SONY/ATV MUSIC PUBLISHING,
LLC, and WARNER MUSIC GROUP
COPRORATION, d/b/a ASYLUM RECORDS,

                 Defendants.
- - - - - - - - - - - - - - - - - - -x


       Plaintiffs, claiming to own a partial interest in the

copyright of the musical composition "Let's Get It On"              ("LGO") as

heirs of Edward B. Townsend, brought this action for copyright

infringement.    They allege that a musical composition "Thinking

Out Loud"   ("TOL"), co-written by defendant Edward Christopher

Sheeran and non-party Amy Wadge, infringes their copyright in

LGO.    Defendants maintain that the deposit copy (not the sound

recording) of LGO defines the scope of the copyright, that the

two works are not substantially similar, that any alleged

similarities concern unprotectable and commonplace elements, and

that plaintiff Kathryn Townsend Griffin lacks standing to bring


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sui t .    Th e y mo v e for summary judgment dismissing the complaint on

thos e gr o unds .     The parties have submitted reports by expert

music ol ogists, who dispute whether substantial similarities exist

between th e two works and whether those alleged similarities were

c ommonplace prior to LGO .

          Regardless of whether the deposit copy or sound recording of

LGO defines the scope of the composition ' s copyright , material

facts are in dispute : whether the harmony and harmonic rhythm

were commonplace prior to LGO , and whether numerous musical

elemen t s in the two works are substantially similar and so

uncommon that an ordinary observer would recognize TOL as having

been appropriated from LGO.                Accordingly, defendants' motion for

summary judgment (0kt. No.              66)   is denied .


                                          BACKGROUND


                                      Let's Get It On

          Plaintiffs own partial interests in the musical c omposition

c o pyright o f the song LGO .            They claim to be heirs of Townsend,

who co-wrote LGO with Marvin Gaye in 1973. 1                       Townsend created the



1 At the time o f Townse n d 's deat h , he retained the ri gh t to t wo - thirds of the
songwriter royalties attributable to LGO . The remai ning o n e -t hird of the
songwrit e r r oyalt i es were assigned to Ga ye . The ben e fici a l own e rs of Gaye ' s
one - thir d intere s t have commenced a related action , in whi ch forma l di s covery
is stayed pending the resolut i on of this motion.           See Orde r , Str uc t u r e d Ass et
Sales , LLC v . Sheeran et al. , 18 - cv - 5839 (S . D. N.Y . Sept . 4 , 2018) (Dkt.

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music and lyrics for LGO while he was sitting at the piano .                    The

following da y , Gaye agreed to record the song.              Gaye recorded

what would become the first commercially released sound recording

of LGO on March 22 , 1973.

        On July 17 , 1973 , music publishers filed a copyright

application for LGO with the U.S. Copyright Office .                The

copyright application identifies Townsend as the sole author of

LGO , and identifies February 14 , 1973 , as the date of publication

o f LGO.

         Sheet music for LGO (the "deposit copy " ) was deposited in

support of the copyright application .              The first page of the LGO

deposit copy appears as follows:




No .   68) .

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             Ltrs GIT ff ON




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              ANb CHE ...mowtt MUSI(      co.>Dlt.
      n -   7 5R




Farkas Deel.         ( Dkt. No.        67,     Ex.      12 at 8) .


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  The parties agree that the LGO deposit copy includes the

composition ' s key , meter , harmony (i . e., chord progressions) ,

rhythm , melody , lyrics , and song structure , but they dispute

whether the deposit copy also implies or includes other musical

elements .   Add ' l Rule 56.1 Stmt.     (0kt . No.   79)   <j[<j[   36 - 37.

Defendants claim that the deposit copy does not include

percussion/drums, bass-guitar , guitar , Gaye ' s vocal performance ,

horns , flute,    piano , strings , or any of the performance elements

- such as the tempo in which to perform the composition -

contained in the LGO recording .        Plaintiffs claim that the chord

progressions on the deposit copy imply the bass - line and guitar,

by indicating the rhythm and notes for those elements.

Plaintiffs also claim that the melody in the deposit copy is a

close transcription of Marvin Gaye ' s actual vocal performances on

the recording , and that tempo is a compositional element as well

as a performance element .

      The U. S . Copyright Office registered LGO for copyright under

Registration No. EP 314589.

      LGO has become one of the most famous songs in R&B and soul

music history .


                             Thinking Out Loud

      On or about February 3 , 2014 , defendant Ed Sheeran and non -


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party Amy Wadge co-authored the musical composition TOL at Ed

Sheeran's home in Suffolk , England .        On February 5, 2014 , Sheeran

recorded what would become the commercially released version of

TOL.   That commercially released recording includes electric

guitar, bass-guitar , piano , organ , lyrics , vocals , and

percussion/drums.       TOL has hit the number one position on the

national charts in eleven countries since 2014, and it has been

certified platinum numerous times by the Recording Industry

Association of America.


                                  STANDARD

       "The court shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law."            Fed. R. Civ.

P. 56 (a).   In deciding a motion for summary judgment, the

district court "must construe the evidence in the light most

favorable to the nonmoving party and draw all reasonable

inferences in its favor . "     Kerzer v . Kingly Mfg., 156 F . 3d 396,

400 (2d Cir . 1998) .     Courts may determine non-infringement of a

copyright as a matter of law on a motion for summary judgment,

although "the issue of substantial similarity is frequently a

fact issue for jury resolution."        Warner Bros . Inc. v . Am. Broad.

Cos., Inc., 720 F.2d 231, 239-40 (2d Cir . 1983)         (citations


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omitted) .   Expert musicologists may opine on probative or

objective similarities between the works and they can provide

guidance by translating musical notation and musical concepts

into plain English , but they may not opine that a defendant ' s

work is substantially similar to the plaintiff ' s work .

Laureyssens v . Idea Grp ., Inc .,   964 F . 2d 131 , 140 (2d Cir . 1992)

(expert testimony is "irrelevant when the issue turns to unlawful

appropriation " ).


                                DISCUSSION


                     Scope 0£ Copyright Protection

     As a threshold matter, the parties disagree over the metes

and bounds of the copyright in LGO .         Defendants argue that the

LGO deposit copy defines the scope of the copyright protection.

Plaintiffs argue that the composition is embodied on the Gaye

recording, which is the first mechanical reproduction of LGO.

     That issue is the subject of the supplemental authority

submitted by defendants , Skidmore for Randy Craig Wolfe Tr . v.

Led Zeppelin, 905 F . 3d 1116 (9th Cir. Sept . 28, 2018) .        There ,

the Ninth Circuit discussed the point fully and thoughtfully, and

held that, for an unpublished musical composition under the 1909

Act , " the deposit copy of ' Taurus '      [the plaintiff ' s work], rather

than a sound recording, defined the scope of the protectable

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copyright ."   Id . at 1131 .    The cou r t was persuaded by " c a ses

that , in the context of discussing the current copyright scheme ,

opined that one of the purposes of the deposit requirement is to

provide ' sufficient material to identify the work in which the

registrant claims a copyright .'"            Id . at 1133 (citations

omitted) .

     The question whether this Ci rcu i t would concur is open , and

unnecessary for decision at this point , for the outcome of this

motion is the same under either view.             Hearing the percussion and

bass increases the perception of similarity between the works .


                       Commonp1ace Musica1 E1ements


                                          Law


      "To qua l ify for copyright protection , a work must be

original to the a u thor ."     Fei s t   Publ ' ns , Inc . v . Rural Tel . Serv .

Co ., 499 U. S . 340 , 345 (199 1 )   (citations omitted) .       The Second

Circuit has explained when a work ' s originality suffices to be

copyrightable :

      As the Supreme Court ' s dec i sion in Feist Publ ications ,
      Inc . v . Rural Tel . Se r v. Co ., 499 U. S . 340 , 111 S . Ct.
      1 282 , 113 L . Ed . 2d 358 (199 1 ) , makes clear , a work may
      be copyrightable even though it is entirely a
      compilation of unprotectible e l ements . See id . at 362 ,
      111 S . Ct . at 1296 (even te l ephone directory may be
      copyrigh table i f it s listings a r e s elected ,
      coordinated , or arranged in an original fashion) . What

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     is protectible then is "the author's original
     contributions," id. at 350, 111 S.Ct. at 1290-the
     original way in which the author has "selected,
     coordinated, and arranged" the elements of his or her
     work. Id. at 358, 111 S.Ct. at 1294.

Knitwaves, Inc. v. Lollytogs Ltd.       (Inc.), 71 F.3d 996, 1003-04

(2d Cir. 1995).

     In the context of musical compositions, common elements are

not entitled to copyright protection because they are no longer

original and already in the public domain.          Those unprotectable

elements include key, meter, tempo, common song structures,

common chord progressions, common melodies, and common percussive

rhythms.     See McDonald v. West, 138 F. Supp. 3d 448,        454

(S.D.N.Y. 2015), aff'd,     669 F. App'x 59 (2d Cir. 2016)        (tempo,

common rhythms,    song structure, and harmonic progressions); Jean

v. Bug Music,    Inc., No. 00-cv-4022       (DC), 2002 WL 287786, at *6

(S.D.N.Y. Feb. 27, 2002)      (common melodic sequence); Tisi v.

Patrick, 97 F. Supp. 2d 539, 543-44          (S.D.N.Y. 2000)   (key, common

structure, harmonic progression, and percussive rhythm).

     Courts "treat the question whether particular elements of a

work demonstrate sufficient originality and creativity to warrant

copyright protection as a question for the factfinder."              Matthew

Bender   &   Co. v. W. Pub. Co., 158 F.3d 674,      681   (2d Cir. 1998).

Where experts disagree as to whether a particular musicar element

is original, summary judgment is inappropriate.            See Ulloa v.

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Universal Music       &   Video Distribution Corp ., 303 F . Supp . 2d 409 ,

413-14     (S.D . N.Y. 2004)   (" It would be improper for this Court , on

a motion for summary judgment , to draw its own conclusions from

this competing evidence regarding the originality of the Vocal

Phrase ." ) .


                                    Application

         The parties and their experts agree that many of the

elements in LGO are protectable , but they disagree as to whether

the I - iii-IV- V chord progression and harmonic rhythm present in

both compositions are unprotectable as commonplace musical

elements .      See Add ' l Rule 56 . 1 Stmt . 11 52 - 60 .   That disagreement

precludes summary judgment .          The question whether those elements

in LGO demonstrate " sufficient originality and creativity to

warrant copyright protection " is a factual question to be

determined at trial .

         The parties squarely dispute whether "The basic I-iii - IV - V

chord progression used in LGO was commonplace prior to LGO . "                Id.

1 52 .     Their expert musicologists also disagree on that point:

defendants ' expert opined that " the I - iii - IV-V chord progression

was already commonplace prior to the LGO Recording , "             (Ferrara

Deel .    ( Dkt . No . 68) 1 1 7) , whereas plaintiffs ' expert opined ,

" This chord progression was not commonplace prior to LGO"


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(Stewart Deel.   (Dkt. No. 81) 'TI 7).

     Plaintiffs concede that the defense expert "identified at

least thirteen songs that predate LGO that use the same chord

progression used in LGO," (id. 'TI 53), although they note, "Out of

hundreds of thousands of songs composed prior to Let's Get It On,

only a dozen or so were identified that contained this chord

progression," (id. 'TI 52).   Similarly, plaintiffs concede that the

"I-iii-IV-V chord progression also appears in at least two guitar

method books,"   (id. 'TI 55) , al though they note that "the two

guitar method books were both published more than twenty-five

years after Let's Get It On was written" (id.).          In view of the

parties' disagreement as to whether the chord progression in LGO

is sufficiently uncommon to warrant copyright protection, the

Court has no basis on which to determine it as a matter of law.

     The parties also dispute whether the harmonic rhythm of that

four-chord progression - the second and fourth chords being

"anticipated" or placed ahead of the beat - is protectable.

Defendants claim that "anticipating" chord changes is a common

musical technique that is not entitled to copyright protection.

But plaintiffs argue that the harmonic rhythm in LGO is

distinctive, and note that defendants have identified only one

pre-LGO song ("Georgy Girl") with the same harmony and harmonic

progression as LGO.    Again, those raise questions that are not

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resolvable by summary judgment, but require trial.


                           Substantia1 Simi1arity


                                      Law

        To prevail on a copyright infringement claim, a plaintiff

must establish that "(1) the defendant has actually copied the

plaintiff's work; and (2) the copying is illegal because a

substantial similarity exists between the defendant's work and

the protectible elements of plaintiff's."          Peter F. Gaito

Architecture LLC v. Simone Dev. Corp., 602 F.3d 57,           63 (2d Cir.

2010)    (citation and internal quotation marks omitted).

The Second Circuit has also set forth the test that courts should

use to assess substantial similarity:

        "The standard test for substantial similarity between
        two items is whether an 'ordinary observer, unless he
        set out to detect the disparities, would be disposed to
        overlook them, and regard [the] aesthetic appeal as the
        same."' Yurman Design, Inc. v. PAJ, Inc., 262 F.3d 101,
        111 (2d Cir.2001) (quoting Hamil Am., 193 F.3d at 100).
        In applying the so-called "ordinary observer test," we
        ask whether "an average lay observer would recognize
        the alleged copy as having been appropriated from the
        copyrighted work." Knitwaves, Inc. v. Lollytogs Ltd.
         (Inc.), 71 F.3d 996, 1002 (2d Cir.1995) (internal
        quotation marks omitted). On occasion, though, we have
        noted that when faced with works "that have both
        protectible and unprotectible elements," our analysis
        must be "more discerning," Fisher-Price, Inc. v. Well-
        Made Toy Mfg. Corp., 25 F.3d 119, 123 (2d Cir.1994),
        and that we instead "must attempt to extract the
        unprotectible elements from our consideration and ask
        whether the protectible elements, standing alone, are

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        substantially similar , " Knitwaves , Inc ., 71 F . 3d at
        1002 (emphasis omitted).

        No matter which test we apply , however , we have
        disavowed any notion that "we are required to dissect
        [the works] into their separate components , and compare
        only those elements which are in themselves
        copyrightable. " Id . at 1003 ; see Boisson, 273 F.3d at
        272-73 . Instead , we are principally guided "by
        comparing the contested design ' s ' total concept and
        overall feel ' with that of the allegedly infringed
        work , " Tufenkian Import/Export Ventures , Inc . v .
        Einstein Moomjy , Inc . , 338 F . 3d 127 , 133 (2d Cir.2003) ;
        see Boisson, 273 F.3d at 272; Knitwaves Inc . , 71 F . 3d
        at 1003 , as instructed by our "good eyes and common
        sense ," Hamil Am., 193 F . 3d at 1 02 (alteration
        omitted)

Id . at 66 .


                                  Application

        Expert musicologists for both parties have opined on

probative similarities between the musical elements of the two

works .    Construing those musical elements in the light most

favorable to plaintiffs , a jury could find several probative

similarities between LGO and TOL.              Those elements include the I -

iii - IV - V harmonic progression , harmonic rhythm with anticipated

second and fourth chords, melody , bass - line , and percussion .

Although the two compositions are not identical , an average lay

observer could conclude that parts of TOL were appropriated from

LGO .     Even applying the " more discerning " analysis for works that

have both protectable and unprotectable elements , the overlap of


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the protectable elements alone prevents a judgment of

noninfringement as a matter of law .

          Harmony .   The parties dispute not only whether the beginning

harmony (i . e ., the I - iii - IV - V chord progression discussed above)

is protectable in LGO , but also whether it is substantially

similar in the two works.               That chord progression is identical in

both songs for the first 24 seconds of TOL.               Stewart Deel .   ~   5.

TOL features multiple chord progressions in addition to the

I - iii-IV-V chord progression , some of which are similar but not

identical to the chord progression in LGO.               Add'l Rule 56 . 1 Stmt .

~   85.     Plaintiffs '    expert opines that the remaining chord

progressions in TOL are "extremely similar" to those used in LGO,

and are used throughout approximately 70% of TOL and 86 . 7% of

LGO .      Stewart Deel .    ~   13 .

          Harmonic Rhythm .       Similarly, the parties dispute whether the

harmonic rhythm discussed above (i . e ., " anticipating" the second

and fourth beats) in the two works is substantially similar.

Plaintiffs argue that the distinctive harmonic rhythm of the

four - chord progression of LGO discussed above , which is notated

on the deposit copy by the placement of chord changes above

particular rhythms, also occurs throughout TOL .               In defendants '

view, the harmonic rhythms are different because , although the

rate of chord change is identical , the rate at which chords are

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played is twice as fast in TOL , where the four-chord progression

is played over two bars instead of four bars as in LGO.

Plaintiffs counter that harmonic rhythm is defined as the rate at

which chords change (not the rate at which chords are played) ,

and that defendants ' distinction is superficial be c ause the

harmonic rhythm in LGO can be written either as a two-bar

progression or four-bar progression without c hanging the internal

relationship of the rhythms .

          Vocal Melody.                 The similarity of the vocal melody in the two

works is also in dispute .                          Plaintiffs argue that the distinctive

eleven- note pitch sequence 6-5 - 3 - 2 - 6- 5 - 3 - 5 - 6- 5-3 in the melodic

"hookn 2 or chorus of LGO is substantially copied and used as the

verse melody of TOL , including in its opening lines :


      Let's Ge It On - metodi hook

                                I   I                                                          ...




      Thlnkin8 Out Loud • v rse




                When ,our 'cg~ don r v.   lilce 1.h 'U:sed   t            l\sld I   n'i   v;
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                                                                                               ep you ff of your f«l,


Pl.      Br .   at 10 .       Defendants argue that plaintiffs ' e xpert's



2 A   hook i s a device used i n mus i c t h at catches the att e nt i on .

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opinion fails as a matter of law because he "had to intentionally

delete pitches and alter the melodic sequences in order to create

the appearance of similarity."          Def. Br. at 15.       Plaintiffs

concede that there are differences in the pitch sequences, but

claim that those differences are minimized by the overall

similarity of the melody's accompaniment.            Pl. Br. at 10 (citing

Swirsky v . Carey, 376 F.3d 841, 848          (9th Cir. 2004)    ("no approach

can completely divorce pitch sequence and rhythm from harmonic

chord progression, tempo, and key")).

        Bass-Line and Percussion.       The bass-line and percussion

parts in TOL may be the elements that are most similar to the

sound recording of LGO, although they are not present in the

deposit copy.         The bass-lines are both syncopated, feature a

distinctive "descending sixth" note, and develop in the same way;

the drums both include eight-note high hats,           3   snare drum on beats

2   and 4, and bass drum on beat 1 and syncopated on the "and" of

beats 2 and 3.          Plaintiffs argue that the bass-line is "implied"

in the deposit copy because the chord names written above certain

lyrics indicate the bass notes and rhythm.             But those chord names

merely set parameters for what a potential bass-line could

encompass, and do not imply the unusual bass-line in the LGO



3   Foot - operated cymbals .

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recording that features a descending sixth .

     Key , Tempo, and Meter .    The key , tempo , meter , and genre of

the two compositions are similar , albeit unprotectable elements.

LGO is in the key of E- flat major , has a tempo of 82 beats per

minute , and is in 4/4 meter ("common time " ) .         TOL is in the key

of D major (a " half-step" or "semitone " below E- flat) , has a

tempo of 79 beats per minute , and is also in common time.

     Total Concept and Feel.      Not only are there substantial

similarities between several of the two works' musical elements ,

but an ordinary observer might experience the aesthetic appeal of

both works as the same .    Nevertheless , defendants point to other

elements - song structure , lyrics , and tone - to highlight the

difference in "total concept and feel " between the works

(plaintiffs do not claim similarities between the lyrics or song

structures,   (Add'l Rule 56 . 1 Stmt.     ~~   61 - 22 , 65 - 66)), and contend

that that the total concept and feel of the two works is

different because "TOL is characterized by somber , melancholic

tones , addressing long - lasting romantic love whereas the LGO

Recording is a sexual anthem that radiates positive emotions and

encourages the listener to ' get it on .'"          Def. Br. at 5.     A jury

might side with either view ; it may be impressed by footage of a

Sheeran performance which shows him seamlessly transitioning

between LGO and TOL .    Frank Deel.     (Dkt . No . 82), Ex . 2, Video

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Ex . 1 .

       Even without considering the bass-line and drum parts, which

are not present in the LGO deposit copy , the question whether TOL

infringes on LGO should be determined by trial rather than

summarily .


                     Kathryn Townsend Gri££in's Standing

       Defendants argue that one of the plaintiffs, Kathryn

Townsend Griffin ("Kathryn")         lacks standing to sue for copyright

infringement of LGO because she is not a proper owner of the

copyright in LGO.        Kathryn claims to be the biological daughter

and an intestate heir of Townsend , who died intestate in 2003.

Defendants contend that, although the Superior Court of

California, County of Riverside , Riverside Probate Division

ordered in 2008 that Kathryn was an intestate heir of Townsend

and thus entitled to 30% of the royalties from his music catalog,

Kathryn obtained that order by withholding material information

from that Court .       Kathryn submitted numerous declarations that

she was Townsend's biological daughter but did not disclose that

she had been adopted as a child by other parents, Shirley and

Ernest Griffin .       Defendants claim that , under California law ,

children who have been adopted by others have no right to inherit

from their biological parents , citing Cal . Prob. Code§ 6451(a)


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("An adoption severs the relationship of parent and child between

an adopted person and a natural parent of the adopted person",

with applications and exclusions dependent on circumstances) . 4

      Defendants ask this Court to revise the Superior Court of

California's order , by determining in this case the effect that

knowledge of Kathryn 's adoption would have had on the California

Superior Court 's acceptance of her as an heir of Townsend.                 Under

28 U.S.C. § 1738, authenticated judicial proceedings of any

State, including California, "shall have the same full faith and

credit in every court within the United States and its

Territories and Possessions as they have by law or usage in the

courts of such State, Territory or Possession from which they are

taken."     Thus, this Court must give the same effect to the

Superior Court's disposition as it would be given by California




4 Although the petition to administer Townsend ' s estate does not expressly
mention Kathryn's adoption, it states:

      Furthermore, both Clef Michael Townsend [Kathryn's surviving half -
      brother] and Cherrigale Townsend , who is the personal
      representative of Edward David Townsend ' s [Kathryn's deceased
      half-brother's] estate and the former spouse of Edward B .
      Townsend, have specifically stated that they wish to acknowledge
      Kathryn Griffin as the natural child and heir of Edward B.
      Townsend. It is therefore requested of this Court that it confirm
      the paternity of Kathryn Griffin as the daughter of Edward B.
      Townsend for purposes of inheriting her one - third intestate share
      of Edward B. Townsend's estate .

Pet . to Adm ' r Estate (0kt . No. 67, Ex. 15 ~ 17) . It is almost inconceivable
that Clef, Kathryn ' s half-brother, and Cherrigale, Townsend's former wife,
were not aware of Kathryn's adoption.

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courts.      The record gives no indication that the California

Superior Court was aware of the point: it did not mention it, nor

express any view on it.         Neither side's brief discusses what the

Superior Court would do with an attempt to reopen its

determination (or even whether that is possible) or what other

California courts would do with such a disposal of estate

distribution issues in the way sought by all parties.


                                   CONCLUSION

     The motion for partial summary judgment (0kt . No. 66) is

denied .

      So ordered .

 Dated: New York, New York
       January 2 , 2019



                                                  LOUIS L . STANTON
                                                       U.S.D.J .




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